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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                   CASE #: 9:19-cv-80825-DMM

  JENNIFER QUASHA, on behalf of
  her son, H.Q., a minor,

          Plaintiff,

  vs.

  CITY OF PALM BEACH GARDENS,
  FLORIDA,

          Defendant.
                                            /

            DEFENDANT, CITY OF PALM BEACH GARDENS’ RESPONSE TO
           PLAINTIFF’S UNOPPOSED MOTION FOR VOLUNTARY DISMISSAL

          Defendant, CITY OF PALM BEACH GARDENS, by and through its undersigned counsel,

  responds to Plaintiff’s Motion for Voluntary Dismissal, and states:

          Plaintiff moved this Court for a voluntary dismissal of this action, stating that the motion

  was unopposed. While the CITY does not oppose this action being dismissed against it, that

  dismissal should be “on terms that the court considers proper.” Rule 41(a)(2), Fed.R.Civ.P.

  Defendant, CITY, informs the Court that it has advised Plaintiff’s counsel through e-mail

  communications leading up to the dismissal motion that the CITY has “no objection” to Plaintiff’s

  counsel withdrawing as counsel (a motion seeking that relief has not been filed), but that the CITY

  will not be waiving any entitlement to move for taxable costs. See, Exhibit “A.”

          Thus, should the Court grant Plaintiff’s motion, Defendant, CITY, respectfully requests

  that it do so in a manner which does not impair the CITY’s right, as a prevailing litigant, to move

  for its taxable costs.
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                                  CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on this 8th day of January, 2020, I electronically filed the
  foregoing document with the Clerk of Court by using the CM/ECF system or by email to all parties.
  I further certify that I either mailed the foregoing document and the Notice of Electronic Filing by
  first class mail to any non CM/ECF participants and/or the foregoing document was served via
  transmission of Notice of Electronic Filing generated by CM/ECF to any and all active CM/ECF
  participants. This motion has additionally been served by U.S. Mail upon Michael Gallucci, c/o
  Marsh Point Elementary, 12649 Ibiza Drive, Palm Beach Gardens, FL 33418; Palm Beach County
  Schools, The School District of Palm Beach County, 3300 Forest Hill Blvd., C-124, West Palm
  Beach, FL 33406; and Palm Beach County Classroom Teachers Association, 715 Spencer Drive,
  West Palm Beach, FL 33409.

                                                BY:     /s/E. Bruce Johnson
                                                       E. BRUCE JOHNSON
                                                       FLA. BAR NO. 262137
                                                BY:     /s/Scott D. Alexander
                                                       SCOTT D. ALEXANDER
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                                      SERVICE LIST


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